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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

DARRYL BROWN,
Plaintiff,
vs. Case No. CIV-12-405-W

GLOBE LIFE AND ACCIDENT
INSURANCE COMPANY

Defendant.

 

NOTICE OF OFFER OF JUDGMENT AND ACCEPTANCE

Defendant Globe Life and Accident Insurance Company hereby notifies the Court that on
July 11, 2012, pursuant to Fed. R. Civ. P. 68 and 12 O.S. llOl.l(B), it served upon Plaintiff
Darryl Brown the Offer of Judgrnent attached hereto as Exhibit 1. On July 16, 2012, Plaintiff
notified counsel for Defendant of his acceptance of its Offer of Judgment through the email
attached as Exhibit 2. Pursuant to Rule 68, the Court Clerk must then enter Judgment. A
proposed Judgrnent is attached hereto as Exhibit 3.

Dated: July 18, 2012.

s/ Brooks A. Richardson

Brooks A. Richardson, OBA #18133

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& TIPPENS, P.C.

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COUNSEL FOR DEFENDANT GLOBE
LIFE AND ACCIDENT INSURANCE COMPANY

CERTIFICATE OF SERVICE

I hereby certify that on July 18, 2012, l electronically filed the foregoing
With the Clerk of Court using the CM/ECF system Which Will automatically send e-mail
notification of such filing to all attorneys of record.

I also certify that on July 18, 2012 l served the attached document by first- class
mail to the following, Who are not registered participants of the ECF System:

Darryl Brown, Reg: No. 46446-066
14601 Burbridge Rd SE
Cumberland, MD 21502-8724

s/ Brooks A. Richardson
Brooks A. Richardson

